Case 1:16-cr-00107-JMS-MJD Document 63 Filed 09/07/18 Page 1 of 48 PageID #: 314




                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION

     UNITED STATES OF AMERICA,    )
                                  )
               Plaintiff,         )
                                  )
     vs.                          )       CAUSE NO. 1:16-cr-00107-JMS-MJD
                                  )       Indianapolis, Indiana
     DONNELL E. GILDER, JR. (01), )       Monday, July 10, 2017
                                  )       3:36 o'clock p.m.
               Defendant.         )



                                 Before the
                  HONORABLE CHIEF JUDGE JANE MAGNUS-STINSON


                  TRANSCRIPT OF PLEA AND SENTENCING HEARING



     APPEARANCES:
     FOR THE GOVERNMENT:       United States Attorney's Office
                               By: Jeffrey D. Preston
                               10 West Market Street, Suite 2100
                               Indianapolis, Indiana 46204

     FOR THE DEFENDANT:        Indiana Federal Community Defenders
                               By: Gwendolyn M. Beitz
                               111 Monument Circle, Suite 3200
                               Indianapolis, Indiana 46204

     ALSO PRESENT:             The Defendant in person.

     COURT REPORTER:           Jean A. Knepley, RDR, CRR, CRC, FCRR
                               46 East Ohio Street, Room 309
                               Indianapolis, Indiana 46204




                    PROCEEDINGS TAKEN BY MACHINE SHORTHAND
                         COMPUTER-AIDED TRANSCRIPTION
Case 1:16-cr-00107-JMS-MJD Document 63 Filed 09/07/18 Page 2 of 48 PageID #: 315
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 2 PLEA HEARING                                                3
     SENTENCING HEARING                                       26
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 4         Certificate of Court Reporter ...........48

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12                      I N D E X     O F       E X H I B I T S

13 DESCRIPTION                                                RECEIVED

14 (There were no exhibits marked or produced.)
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Case 1:16-cr-00107-JMS-MJD Document 63 Filed 09/07/18 Page 3 of 48 PageID #: 316
                                                                           3

 1                               (In open court.)

 2               THE COURT:    Good afternoon.      We are here under Cause
 3 No. 1:16-cr-107.       This is the case of the United States versus
 4 Donnell Gilder, Jr., who is present in person with counsel, Ms.
 5 Beitz.     The Government is present by Assistant United States
 6 Attorney Jeff Preston.        He is assisted by Brian Reardon with
 7 ATF and Paul Buchman with IMPD.
 8               This matter is before the Court for change of plea
 9 and sentencing, and the Court is assisted by Michelle
10 Fitzgerald, the probation officer who prepared a presentence
11 report in this case.        Our court reporter is Jean Knepley.
12               As I said, we are here for change of plea and
13 sentencing.      Are there any victims to be heard today, Mr.
14 Preston?
15               MR. PRESTON:    No, Your Honor, there are not.
16               THE COURT:    Thank you.
17               And Ms. Beitz, does your client wish to proceed with
18 the petition that has previously been filed?
19               MS. BEITZ:    Yes, Your Honor.
20               THE COURT:    All right, thank you.
21               Mr. Gilder -- is it Gilder?
22               THE DEFENDANT:     Yes, ma'am.
23               THE COURT:    I need to ask you some questions today,
24 and before I do I need to swear you in.            So can you raise your
25 right hand for me, please.
Case 1:16-cr-00107-JMS-MJD Document 63 Filed 09/07/18 Page 4 of 48 PageID #: 317
                                                                           4

 1         (Defendant sworn.)
 2               THE COURT:    All right.     Sir, do you understand that
 3 you are now under oath, and if you answer any of my questions
 4 falsely your answers may later be used against you in another
 5 prosecution for perjury or making a false statement?
 6               THE DEFENDANT:     Yes.   I understand.
 7               THE COURT:    Can you state your full name, please.
 8               THE DEFENDANT:     My name is Donnell E. Gilder, Jr.
 9               THE COURT:    Where were you born?
10               THE DEFENDANT:     Born in Indianapolis, Indiana.
11               THE COURT:    You are a United States citizen?
12               THE DEFENDANT:     Yes, ma'am.
13               THE COURT:    How old are you, sir?
14               THE DEFENDANT:     Twenty-three years old, Your Honor.
15               THE COURT:    How far did you go in school?
16               THE DEFENDANT:     I graduated from high school, 12th
17 grade.
18               THE COURT:    Okay.   Sir, have you ever been treated
19 for mental illness?
20               THE DEFENDANT:     No.
21               THE COURT:    Have you ever been treated for addiction
22 to narcotic drugs of any kind?
23               THE DEFENDANT:     No.
24               THE COURT:    I ask you those questions to try to see
25 if there might be a reason that you would be unable to
Case 1:16-cr-00107-JMS-MJD Document 63 Filed 09/07/18 Page 5 of 48 PageID #: 318
                                                                           5

 1 understand what is happening today.           Is there any reason that
 2 you would not be able to understand today's proceedings?
 3               THE DEFENDANT:     No, Your Honor.
 4               THE COURT:    Today, are you under the influence of any
 5 drug, medication, or alcoholic beverage of any kind?
 6               THE DEFENDANT:     No, I am not.
 7               THE COURT:    All right.     When the case first began, an
 8 indictment was filed that charged you with various crimes.                  Did
 9 you receive a copy of the written charges against you when the
10 case began?
11               THE DEFENDANT:     I received a copy.
12               THE COURT:    And have you fully discussed those
13 charges and the case, in general, with Ms. Beitz, your
14 attorney?
15               THE DEFENDANT:     Yes, I have.
16               THE COURT:    And are you fully satisfied with the
17 counsel, representation, and advice that she has given you in
18 this case?
19               THE DEFENDANT:     Yes, I am fully satisfied, and I
20 appreciate it.
21               THE COURT:    At some point, then, did she present to
22 you a signed -- or a proposed plea agreement, an offer from the
23 Government as a way to resolve the case?
24               THE DEFENDANT:     Yes, she has.
25               THE COURT:    And did you have an opportunity to read
Case 1:16-cr-00107-JMS-MJD Document 63 Filed 09/07/18 Page 6 of 48 PageID #: 319
                                                                           6

 1 and discuss the plea agreement with her before you signed it?
 2               THE DEFENDANT:     Yes, I did.
 3               THE COURT:    Is the plea agreement the complete
 4 agreement that you made with the Government?
 5               THE DEFENDANT:     Yes.
 6               THE COURT:    And Ms. Beitz, were all formal plea
 7 offers by the Government conveyed to Mr. Gilder?
 8               MS. BEITZ:    They were, Your Honor.
 9               THE COURT:    And Mr. Preston, did Mr. Gilder receive
10 the benefit of the most lenient offer the Government intended
11 to make in this case?
12               MR. PRESTON:    Yes, Your Honor.
13               THE COURT:    Mr. Gilder, do you believe you understand
14 the terms of the plea agreement?
15               THE DEFENDANT:     I understand the terms, Your Honor.
16               THE COURT:    All right.     We will go over them in just
17 a minute.      Apart from the written document, has anyone made any
18 promises or assurances that are not in the plea agreement to
19 persuade you to accept the agreement?
20               THE DEFENDANT:     No, Your Honor.
21               THE COURT:    And has anyone threatened you or forced
22 you in any way to sign the plea agreement or plead guilty?
23               THE DEFENDANT:     No, ma'am.
24               THE COURT:    All right.     Do you have a copy of the
25 plea agreement there?
Case 1:16-cr-00107-JMS-MJD Document 63 Filed 09/07/18 Page 7 of 48 PageID #: 320
                                                                           7

 1               THE DEFENDANT:     Yes.
 2               THE COURT:    All right.     Let's take a look at it,
 3 please.
 4               In Paragraph 1 it provides that you have agreed to
 5 plead guilty to Counts 9 and 11 of the indictment, which charge
 6 you with committing the offense of interference with commerce
 7 by threats or violence.
 8               You have also agreed to plead guilty to Counts 20 and
 9 22, which charge you with knowingly discharging a firearm
10 during and in relation to a crime of violence.             That is,
11 interference with commerce by threats or violence as set forth
12 in Counts 9 and 11 of the indictment.
13               Do you understand that those are the four counts to
14 which you are pleading guilty under this agreement?
15               THE DEFENDANT:     Yes, Your Honor.
16               THE COURT:    In exchange for your plea to those
17 counts, the Government agrees that it will move to dismiss all
18 of the remaining counts at sentencing.            However, you and the
19 Government have agreed that the offenses charged in the counts
20 that will be dismissed can be considered relevant conduct for
21 the purposes of calculating your offense level under the
22 sentencing guidelines; do you understand that?
23               THE DEFENDANT:     Yes, Your Honor.
24               THE COURT:    All right.
25               So I need to make sure you are aware of the potential
Case 1:16-cr-00107-JMS-MJD Document 63 Filed 09/07/18 Page 8 of 48 PageID #: 321
                                                                           8

 1 minimum and maximum penalties.          With respect to Counts 9 and
 2 11, those offenses are punishable by a term of imprisonment of
 3 0 to 20 years, up to a $250,000 fine, and not more than three
 4 years' supervised release following any term of imprisonment;
 5 do you understand?
 6               THE DEFENDANT:     I understand.
 7               THE COURT:    All right.     Then with respect to
 8 Count 20, that crime is punishable by a term of not less than
 9 ten years and not more than life imprisonment, which has to be
10 served consecutively to any sentence imposed for Counts 9 and
11 11, up to a $250,000 fine, and not more than five years'
12 supervised release following any term of imprisonment; do you
13 understand?
14               THE DEFENDANT:     I understand.
15               THE COURT:    Then Count 22 is punishable by a term of
16 not less than 25 years and not more than life imprisonment,
17 which must be served consecutively to any sentence imposed for
18 Counts 9, 11, and 20, up to a $250,000 fine, and not more than
19 five years' supervised release following any term of
20 imprisonment; do you understand?
21               THE DEFENDANT:     I understand.
22               THE COURT:    All right.     If we had gone to trial on
23 the four charges to which you are pleading guilty, the
24 Government would have been required to prove certain elements
25 of each of the crimes.        With respect to Count 9, the Government
Case 1:16-cr-00107-JMS-MJD Document 63 Filed 09/07/18 Page 9 of 48 PageID #: 322
                                                                           9

 1 would have been required to prove, first, that you obtained
 2 property from another person without that person's consent;
 3 second, that you did so by wrongful use of actual or threatened
 4 force, violence, or fear; and as third, as a result of your
 5 actions, interstate commerce or an item moving in interstate
 6 commerce was actually or potentially delayed, obstructed, or
 7 affected in any way or degree.          Do you understand those are the
 8 elements of Count 9?
 9               THE DEFENDANT:     Yes, Your Honor.
10               THE COURT:    Do you understand that by pleading guilty
11 you are relieving the Government of the burden of having to
12 prove those elements by proof beyond a reasonable doubt?
13               THE DEFENDANT:     Yes, I understand that.
14               THE COURT:    All right.     Count 11 carries with it the
15 same elements; that is, first, that you attempted to obtain
16 property from another person without that person's consent;
17 second, that you did so by wrongful use of actual or threatened
18 force, violence, or fear; and third, that as a result of your
19 actions, interstate commerce, or an item moving in interstate
20 commerce, was actually or potentially delayed, obstructed, or
21 affected in any way or degree.          Do you understand those are the
22 elements of Count 11?
23               THE DEFENDANT:     Yes, I understand.
24               THE COURT:    And do you understand, again, that by
25 pleading guilty you are relieving the Government of the burden
Case 1:16-cr-00107-JMS-MJD Document 63 Filed 09/07/18 Page 10 of 48 PageID #: 323
                                                                            10

  1 of having to prove those elements by proof beyond a reasonable
  2 doubt?
  3              THE DEFENDANT:     Yes, Your Honor.
  4              THE COURT:     All right.    In Counts 20 and 22, they
  5 charge -- they are tied to each of the prior counts I just
  6 mentioned.      Count 20 charges that you knowingly discharged a
  7 firearm during and in relation to the crime that is charged in
  8 Count 9; do you understand?
  9              THE DEFENDANT:     Yes, I understand.
 10              THE COURT:     And then similarly, Count 22 charges that
 11 you knowingly discharged a firearm during and in relation to
 12 the crime charged in Count 11.          Do you understand those are the
 13 elements of those two counts?
 14              THE DEFENDANT:     Yes, Your Honor.
 15              THE COURT:     And again, do you understand that by
 16 pleading guilty, you are relieving the Government of the burden
 17 of having to prove each of the elements of those counts by
 18 proof beyond a reasonable doubt?
 19              THE DEFENDANT:     Yes, Your Honor.
 20              THE COURT:     All right.    Now, this plea agreement
 21 calls for me to use my discretion in determining how to
 22 sentence you in this case.         In doing so, I have to consider all
 23 of the factors that are listed in 18 United States Code,
 24 Section 3553(a).       One of the factors that that law requires me
 25 to consider are the sentencing guidelines and how they apply in
Case 1:16-cr-00107-JMS-MJD Document 63 Filed 09/07/18 Page 11 of 48 PageID #: 324
                                                                            11

  1 your case.      The guidelines are strictly advisory.         They are not
  2 mandatory, and I do not have to follow them; do you understand?
  3              THE DEFENDANT:     Yes, I understand.
  4              THE COURT:     The Court will require payment of
  5 restitution; do you understand?
  6              THE DEFENDANT:     Yes, ma'am.
  7              THE COURT:     And by pleading guilty to more than one
  8 offense, the Court may order the sentences to be served
  9 consecutively or one after the other, although so we are clear,
 10 and I believe I have said this, the sentence imposed for
 11 Count 20 must run consecutively to the sentences imposed on
 12 Counts 9 and 11.       And the sentence imposed for Count 22 must
 13 run consecutively to the other sentences; do you understand
 14 that?
 15              THE DEFENDANT:     Yes, Your Honor.
 16              THE COURT:     All right.    Now later today in the
 17 proceedings during sentencing, that you and the Government will
 18 be allowed to make argument or recommendation as to what
 19 sentence you believe is the appropriate sentence in the case.
 20 I am not bound by either of your recommendations; do you
 21 understand that?
 22              THE DEFENDANT:     I understand.
 23              THE COURT:     All right.    So it could be that I impose
 24 a sentence that is higher than what you expect, and if I do,
 25 you could not withdraw from the plea; do you understand?
Case 1:16-cr-00107-JMS-MJD Document 63 Filed 09/07/18 Page 12 of 48 PageID #: 325
                                                                             12

  1              THE DEFENDANT:     I understand.
  2              THE COURT:     And similarly, if I impose a sentence
  3 that is lower than what the Government expects, the Government
  4 could not withdraw from the plea agreement; do you understand?
  5              THE DEFENDANT:     I understand, Your Honor.
  6              THE COURT:     All right.    The plea agreement was signed
  7 in March, and Paragraph 6 says that it was based on information
  8 known to the Government at the time it was signed.              Is the
  9 Government aware of any additional information that might
 10 support the filing of additional charges, Mr. Preston?
 11              MR. PRESTON:     No, Your Honor.
 12              THE COURT:     All right.    So the Government agrees in
 13 Paragraph 6 that it will not bring any other federal charges
 14 against you based on information that is known to the
 15 Government; do you understand?
 16              THE DEFENDANT:     I understand.
 17              THE COURT:     But in Paragraph 7, it is made clear that
 18 nothing protects you from being prosecuted for offenses that
 19 are not covered by the agreement or known to the United States
 20 Attorney at this time; do you understand?
 21              THE DEFENDANT:     Yes, Your Honor.
 22              THE COURT:     Also nothing protects you from being
 23 prosecuted for any offense that is committed after the date of
 24 the agreement; do you understand?
 25              THE DEFENDANT:     Yes, I understand.
Case 1:16-cr-00107-JMS-MJD Document 63 Filed 09/07/18 Page 13 of 48 PageID #: 326
                                                                            13

  1              THE COURT:     When you first came to court you were
  2 advised of certain rights that you have in this criminal case,
  3 and some of those rights you give up by pleading guilty.               They
  4 are summarized in Paragraph 8.          I am going to go over them in a
  5 little bit more detail.
  6              First, you have the right to plead not guilty to any
  7 offense charged against you and to maintain that plea, but when
  8 you plead guilty you give up that right; do you understand?
  9              THE DEFENDANT:     Yes, ma'am.
 10              THE COURT:     You would then have the right to a public
 11 and speedy trial by jury, but when you plead guilty you give up
 12 that right; do you understand?
 13              THE DEFENDANT:     Yes, ma'am.
 14              THE COURT:     If we had a trial, you would be presumed
 15 innocent, and the Government would be required to prove your
 16 guilt beyond a reasonable doubt.          But when you plead guilty you
 17 give up those rights; do you understand?
 18              THE DEFENDANT:     Yes, I understand.
 19              THE COURT:     You would have the right to the
 20 assistance of counsel for your defense appointed by the Court,
 21 if necessary, at trial and every other stage of the proceeding.
 22 But when you plead guilty you give up that right; do you
 23 understand?
 24              THE DEFENDANT:     I understand.
 25              THE COURT:     You would have the right to see and hear
Case 1:16-cr-00107-JMS-MJD Document 63 Filed 09/07/18 Page 14 of 48 PageID #: 327
                                                                            14

  1 all of the witnesses and have them cross-examined in your
  2 defense, but when you plead guilty you give up that right; do
  3 you understand?
  4              THE DEFENDANT:     Yes, ma'am.
  5              THE COURT:     You have the right on your own part to
  6 decline to testify at trial, but when you plead guilty you give
  7 up that right; do you understand?
  8              THE DEFENDANT:     Yes.
  9              THE COURT:     On the other hand, you also have the
 10 right to voluntarily choose to testify in your own defense, but
 11 when you plead guilty you give up that right; do you
 12 understand?
 13              THE DEFENDANT:     Yes, ma'am.
 14              THE COURT:     You would have no obligation to present
 15 any evidence at trial, but if you wanted to, you would have the
 16 right to use the Court's subpoena power to require witnesses to
 17 provide evidence in your defense.          However, when you plead
 18 guilty, you give up that right; do you understand?
 19              THE DEFENDANT:     Yes, I understand.
 20              THE COURT:     Now, if it were your decision not to
 21 testify or put on any evidence, these decisions could not be
 22 used against you, and I would instruct the jury that they could
 23 not consider those decisions in any way in reaching their
 24 verdict; do you understand?
 25              THE DEFENDANT:     Yes, ma'am.
Case 1:16-cr-00107-JMS-MJD Document 63 Filed 09/07/18 Page 15 of 48 PageID #: 328
                                                                            15

  1              THE COURT:     Do you further understand that by
  2 entering a plea of guilty, if your plea is accepted by the
  3 Court, we will not have a trial, and you would have waived or
  4 given up your right to a trial, as well as the other rights
  5 associated with the trial that I just described; do you
  6 understand?
  7              THE DEFENDANT:     Yes, I understand.
  8              THE COURT:     Paragraph 9 of the plea agreement on
  9 page 6 discusses the sentencing, and it says that the
 10 Government agreed to recommend a sentence at the lowest end of
 11 the advisory sentencing guideline range that is found to be
 12 applicable in this case; do you understand that?
 13              THE DEFENDANT:     Yes, ma'am.
 14              THE COURT:     You are free to argue for and request any
 15 sentence, including a sentence below the advisory sentencing
 16 guideline range the Court finds to be applicable; do you
 17 understand?
 18              THE DEFENDANT:     Yes, ma'am.
 19              THE COURT:     Now, following any term of imprisonment,
 20 you would be placed on supervised release, and both you and the
 21 Government will be allowed to argue whether you should be
 22 placed on supervised release, though it is mandatory.              Is it
 23 not mandatory?      I am asking the probation officer.
 24              THE PROBATION OFFICER:       I don't believe it is
 25 mandatory, Your Honor.
Case 1:16-cr-00107-JMS-MJD Document 63 Filed 09/07/18 Page 16 of 48 PageID #: 329
                                                                            16

  1              THE COURT:     You will be allowed to make argument as
  2 to whether you should be placed on supervised release for how
  3 long and what the conditions of supervised release should be;
  4 do you understand?
  5              THE DEFENDANT:     Yes.
  6              THE COURT:     And even though you can make argument and
  7 present evidence about supervised release in Paragraph 12 and
  8 later on, you are giving up your right to appeal the length and
  9 conditions of supervised release; do you understand?
 10              THE DEFENDANT:     Yes, ma'am.
 11              THE COURT:     All right.    Because you are pleading
 12 guilty to four felony charges, you have to pay a total of $400
 13 either today or as ordered by the Court, which is the mandatory
 14 special assessment fee required by law; do you understand?
 15              THE DEFENDANT:     Yes, ma'am.
 16              THE COURT:     You have agreed that you should not pay a
 17 fine; do you understand?
 18              THE DEFENDANT:     Yes.
 19              THE COURT:     And you have agreed to pay restitution
 20 for all losses caused by your conduct; do you understand that?
 21              THE DEFENDANT:     Yes, ma'am.
 22              THE COURT:     I will get to that in just a minute.         So
 23 it will be that during the period of your sentence you will
 24 have a financial obligation as part of the judgment against
 25 you.    And in Paragraph 16 of the plea agreement, you're
Case 1:16-cr-00107-JMS-MJD Document 63 Filed 09/07/18 Page 17 of 48 PageID #: 330
                                                                            17

  1 agreeing that payment towards that obligation should be both a
  2 condition of supervised release if you are placed on supervised
  3 release and should also be ordered as payment through the
  4 Inmate Financial Responsibility Program of the United States
  5 Bureau of Prisons; do you understand?
  6              THE DEFENDANT:     Yes, ma'am.
  7              THE COURT:     That program is sort of a job program
  8 of -- they put you in a position where you earn a wage in
  9 prison.     It isn't a significant wage, but through that work
 10 that you perform and the wage that you earn, you can begin
 11 making repayment of any financial obligation that you owe; do
 12 you understand?
 13              THE DEFENDANT:     Yes, ma'am.
 14              THE COURT:     If you don't pay off the amounts that you
 15 owe by the time you are through with your term of imprisonment,
 16 then as we noted a minute ago, you would have to pay them as
 17 part of your supervised release; do you understand?
 18              THE DEFENDANT:     I understand.
 19              THE COURT:     And you have agreed to cooperate with the
 20 Government in providing financial information to assist them
 21 with collection; do you understand?
 22              THE DEFENDANT:     I understand.
 23              THE COURT:     All right.    You have also agreed in
 24 Paragraph 17, another aspect of your sentence will be that you
 25 are forfeiting any right, title, or interest you have
Case 1:16-cr-00107-JMS-MJD Document 63 Filed 09/07/18 Page 18 of 48 PageID #: 331
                                                                            18

  1 into -- in the Ruger LC9, 9-millimeter pistol bearing the
  2 serial number ending 662 and seven rounds of 9-millimeter
  3 ammunition; do you understand you are giving up or forfeiting
  4 your right to that property?
  5              THE DEFENDANT:     Yes, Your Honor.
  6              THE COURT:     You are giving up the right to any
  7 further notice or process concerning the forfeiture of that
  8 property.
  9              THE DEFENDANT:     Yes, Your Honor.
 10              THE COURT:     Do you understand?
 11              In Paragraph 18, Part 5 of the plea agreement, one of
 12 the things I have to do is make sure there is evidence to
 13 support your plea of guilty.         And through a stipulation that
 14 you and the Government have agreed to in Paragraph 18, I can
 15 consider that as evidence in the case; do you understand?
 16              THE DEFENDANT:     Yes, ma'am.
 17              THE COURT:     So if you look at the information that is
 18 summarized in the paragraphs that start Counts 9 and 20 and
 19 Counts 11 and 22, before you signed this plea agreement, did
 20 you carefully review that information?
 21              THE DEFENDANT:     Yes, I carefully reviewed it.
 22              THE COURT:     And is it factually accurate?
 23              THE DEFENDANT:     Yes, it is accurate.
 24              THE COURT:     All right.    The Court finds, then, that
 25 the information contained in Paragraph 18 is sufficient to
Case 1:16-cr-00107-JMS-MJD Document 63 Filed 09/07/18 Page 19 of 48 PageID #: 332
                                                                            19

  1 establish a factual basis for each of Counts 9, 11, 20, and 22.
  2              With respect to the guidelines, I am turning to 22,
  3 Part 7 of the plea agreement now.          You and the Government have
  4 reached a stipulation concerning the guidelines, and it is
  5 consistent with the calculation that is contained in the PSR.
  6 So let's go ahead and look at the presentence report and the
  7 official guideline calculation that is contained there.
  8              Because of the other relevant conduct that is
  9 included for both Counts 9 and 11, the counts to which you are
 10 pleading guilty, the base offense levels are 20, and those are
 11 not altered by -- I am sorry, for Counts -- okay.             For Count 20
 12 the base offense level is 20.         There are no adjustments.        For
 13 Count 11 -- I am sorry, I am confusing myself.             Let me --
 14              MS. BEITZ:     Your Honor, did you mean Count 9?
 15              THE COURT:     I was looking at base offense level of
 16 20.    I will start over.
 17              For Count 9 the adjusted offense level is 20.            For
 18 Count 11 the adjusted offense level is 22 because two levels
 19 are added to the base offense level because the victim
 20 sustained bodily injury.
 21              For the March supermarket robbery on February 29th,
 22 the base offense level is 20.
 23              For the Speedway robbery on March 17, 2016, the base
 24 offense level is 20.
 25              For the Speedway robbery on March 17, 2016, this one
Case 1:16-cr-00107-JMS-MJD Document 63 Filed 09/07/18 Page 20 of 48 PageID #: 333
                                                                            20

  1 on 65th Street, the base offense level is 20.
  2              For the Speedway robbery on East 65th Street on
  3 March 19th, the base offense level is 20.
  4              For the Speedway robbery on North Allisonville Road
  5 on March 19th, the base offense level is 20.
  6              For the Speedway robbery on North Allisonville on
  7 March 23rd, the adjusted offense level is 20.
  8              For the Speedway robbery on North Allisonville Road
  9 on April 5th, the adjusted offense level is 20.
 10              And for the Speedway robbery on East 65th Street on
 11 April 6th, the adjusted offense level is 20.
 12              For the Speedway robbery on April 16, 2016, the
 13 adjusted offense level is 20.
 14              There are 11 units added to the greatest adjusted
 15 offense level, which is 22.         But the maximum that can be added,
 16 that results in an increase of five levels for a combined
 17 adjusted offense level for all of these robberies of 27.
 18              Because you have pled guilty and demonstrated
 19 acceptance of responsibility, you are entitled to two levels of
 20 reduction, and then a third level on motion of the Government
 21 because you have pled guilty in a timely way.             Is the
 22 Government making that motion?
 23              MR. PRESTON:     Yes, Your Honor.
 24              THE COURT:     The second part of any guideline
 25 calculation is the criminal history category.             Your criminal
Case 1:16-cr-00107-JMS-MJD Document 63 Filed 09/07/18 Page 21 of 48 PageID #: 334
                                                                            21

  1 history category is zero.         You have no convictions that
  2 qualify; do you understand that?
  3              THE DEFENDANT:     I understand.
  4              THE COURT:     All right.    So the guideline range for
  5 Counts 9 and 11, which take into account all of those dismissed
  6 robberies that I just discussed, is a range 51 to 63 months; do
  7 you understand?
  8              THE DEFENDANT:     Yes, ma'am.
  9              THE COURT:     And then to that has to be added the ten
 10 years caused by Count 20; do you understand that?
 11              THE DEFENDANT:     I understand, Your Honor.
 12              THE COURT:     And then to that has to be added the
 13 300-month consecutive sentence for Count 22; do you understand
 14 that?
 15              THE DEFENDANT:     Yes, Your Honor.
 16              THE COURT:     Counsel, do you agree that is the correct
 17 guideline calculation, Mr. Preston?
 18              MR. PRESTON:     Yes, Your Honor.
 19              THE COURT:     Ms. Beitz?
 20              MS. BEITZ:     Yes, Your Honor.
 21              THE COURT:     In Paragraph 23, Mr. Gilder, you are
 22 giving up some important rights again.           You have the statutory
 23 right to appeal the conviction and the sentence imposed and the
 24 manner in which the sentence was determined, but in exchange
 25 for the concessions made by the Government in the plea
Case 1:16-cr-00107-JMS-MJD Document 63 Filed 09/07/18 Page 22 of 48 PageID #: 335
                                                                            22

  1 agreement, including the dismissal of all the remaining counts
  2 in the indictment, you are giving up your right to appeal the
  3 conviction imposed in this case on any ground; do you
  4 understand?
  5              THE DEFENDANT:     Yes, ma'am.
  6              THE COURT:     You are also giving up your right to
  7 appeal the sentence imposed in this case on any ground,
  8 including the right to appeal that is conferred by 18 United
  9 States Code, Section 3742; do you understand?
 10              THE DEFENDANT:     Yes, Your Honor.
 11              THE COURT:     This waiver includes all provisions of
 12 the guilty plea and sentence imposed, including the length and
 13 conditions of supervised release, the amount of any fine, the
 14 restitution and forfeiture; do you understand that?
 15              THE DEFENDANT:     Yes, Your Honor.
 16              THE COURT:     Sometimes an individual might decide to
 17 try to challenge his conviction or sentence outside of a direct
 18 appeal by filing a separate legal action, and you have agreed
 19 in Paragraph 24 that you will not file any separate legal
 20 action, generally speaking; do you understand that?              There are
 21 two exceptions.
 22              THE DEFENDANT:     Yes, ma'am.
 23              THE COURT:     The two exceptions are with respect to
 24 filing a motion to modify your sentence in this case, if the
 25 Sentencing Commission or the Congress in the future amends the
Case 1:16-cr-00107-JMS-MJD Document 63 Filed 09/07/18 Page 23 of 48 PageID #: 336
                                                                            23

  1 guidelines to lower the guideline range that pertains to your
  2 offense and they make that amendment retroactive, the
  3 Government agrees that it will not object to your filing
  4 modification motion before the trial Court if that happens; do
  5 you understand that?
  6              THE DEFENDANT:     Yes, Your Honor.
  7              THE COURT:     I am sorry, I should say they won't
  8 object on the basis that you have given up your right to file
  9 such a motion; do you understand?
 10              THE DEFENDANT:     Yes, I understand.
 11              THE COURT:     But they might object on other bases.
 12 They might object for just, for example, for the number of
 13 crimes that were dismissed in this case, or if when you are in
 14 prison you are not behaving well, they can object on any other
 15 reason other than saying he has given up his right to do that;
 16 do you understand?
 17              THE DEFENDANT:     Yes, I understand.
 18              THE COURT:     The other type of challenge you could
 19 make to your conviction or sentence in this case is a challenge
 20 based on a claim that you received ineffective assistance of
 21 counsel, meaning Ms. Beitz did not provide you with
 22 Constitutionally adequate legal representation; do you
 23 understand that?
 24              THE DEFENDANT:     Yes, I understand.
 25              THE COURT:     Do you have any reason to date to believe
Case 1:16-cr-00107-JMS-MJD Document 63 Filed 09/07/18 Page 24 of 48 PageID #: 337
                                                                            24

  1 that she has done that?
  2              THE DEFENDANT:     No, I have no reason.
  3              THE COURT:     Okay.   All right.
  4              Do you have any questions about the plea agreement?
  5              THE DEFENDANT:     No.    I have no questions.
  6              THE COURT:     Okay.   Are you pleading guilty today of
  7 your own free will and because you are guilty?
  8              THE DEFENDANT:     Yes.
  9              THE COURT:     And similarly, when you agreed to give up
 10 your right to appeal and your right to file either a sentence
 11 modification or a separate legal challenge to your conviction
 12 or sentence, did you do that after consulting with your
 13 attorney?
 14              THE DEFENDANT:     Yes, I did.
 15              THE COURT:     And of your own free will?
 16              THE DEFENDANT:     Yes, ma'am.
 17              THE COURT:     All right.    Do you believe you understand
 18 the possible consequences of your plea agreement?
 19              THE DEFENDANT:     Yes, ma'am.
 20              THE COURT:     All right.    Do you understand we do not
 21 have parole in the federal system?          So if you are sentenced to
 22 prison, you will not be released to parole.
 23              THE DEFENDANT:     I understand.
 24              THE COURT:     Do you also understand that in the
 25 federal system presently, anybody who is serving a sentence can
Case 1:16-cr-00107-JMS-MJD Document 63 Filed 09/07/18 Page 25 of 48 PageID #: 338
                                                                            25

  1 earn no more than 15 percent good time credit.             So you would
  2 have to serve at least 85 percent of your sentence; do you
  3 understand?
  4              THE DEFENDANT:     I understand, Your Honor.
  5              THE COURT:     Do you understand that the offense to
  6 which you are pleading guilty is a felony, and if your plea is
  7 accepted, you will be adjudged guilty of that offense.              That
  8 adjudication may deprive you of valuable civil rights such as
  9 the right to vote, the right to hold public office, the right
 10 to serve on a jury, and the right to possess any kind of
 11 firearm; do you understand?
 12              THE DEFENDANT:     Yes, ma'am.
 13              THE COURT:     All right.    So before I ask you how you
 14 plead, do you have any questions concerning the plea agreement
 15 or the guilty plea portion of the proceedings?
 16              THE DEFENDANT:     No.   I have no questions.
 17              THE COURT:     As to the charges contained in Counts 9,
 18 11, 20, and 22, how do you now plead, guilty or not guilty?
 19              THE DEFENDANT:     I plead guilty to each one.
 20              THE COURT:     It is the finding of the Court in the
 21 case of the United States v. Donnell E. Gilder, Jr., that the
 22 Defendant is fully competent and capable of entering an
 23 informed plea, that he is aware of the nature of the charges
 24 and the consequences of the plea, that the plea of guilty is a
 25 knowing and voluntary plea supported by an independent basis in
Case 1:16-cr-00107-JMS-MJD Document 63 Filed 09/07/18 Page 26 of 48 PageID #: 339
                                                                            26

  1 fact containing each of the essential elements of the offense.
  2 The plea is, therefore, accepted, and the Defendant is now
  3 adjudged guilty of Counts 9, 11, 20, and 22.
  4              Turning to the sentencing portion of the proceedings,
  5 the Court has received and reviewed the tender of the many
  6 letters of support that were submitted on behalf of the
  7 Defendant at Docket 50, and of course, the presentence report.
  8 Are there any other documents for the Court to consider, Ms.
  9 Beitz?
 10              MS. BEITZ:     No, Your Honor.
 11              THE COURT:     For the -- any for the victims in the
 12 case, Mr. Preston?
 13              MR. PRESTON:     No, Your Honor.
 14              THE COURT:     And I should have stated this before we
 15 went through the -- I accepted the plea, but the total amount
 16 of restitution is included in the presentence report on pages
 17 20 and 21.      It is 1,090 to the Speedway Gas Station at 71st
 18 Street, $452 to the Speedway on 65th Street, $360 to the
 19 Speedway on Allisonville Road, and $100 to a clerk at the Marsh
 20 Supermarket.      Do the parties agree that is the correct amount
 21 of restitution, Mr. Preston?
 22              MR. PRESTON:     Your Honor, there is actually a slight
 23 alteration of which the parties became recently aware.
 24              THE COURT:     Okay.
 25              MR. PRESTON:     The $100 set aside for the cashier at
Case 1:16-cr-00107-JMS-MJD Document 63 Filed 09/07/18 Page 27 of 48 PageID #: 340
                                                                            27

  1 Marsh, she was actually reimbursed by Marsh Supermarket, the
  2 cost of the phone, and that payment is not necessary.
  3              THE COURT:     Marsh is not seeking it?
  4              MR. PRESTON:     Marsh is not.
  5              THE COURT:     All right.    We will delete that and just
  6 do the first three.       Ms. Beitz, is that your understanding as
  7 well?
  8              MS. BEITZ:     Yes, Your Honor.
  9              THE COURT:     All right, thank you.
 10              And have you and Mr. Gilder had an opportunity to
 11 read and discuss the presentence report?
 12              MS. BEITZ:     We have, Your Honor.
 13              THE COURT:     Is it accurate?
 14              MS. BEITZ:     It is, and aside from one correction is
 15 noted on page 23.
 16              THE COURT:     Okay.
 17              MS. BEITZ:     It was just a correction to something
 18 factual in Paragraph 116, nothing that affects the guidelines.
 19              THE COURT:     Okay.   Thank you.    That is included in
 20 the addendum?
 21              THE PROBATION OFFICER:       Yes, Your Honor.
 22              THE COURT:     Thanks, Miss Fitzgerald.
 23              Are there any objections to the presentence report
 24 for the Government?
 25              MR. PRESTON:     No, Your Honor.
Case 1:16-cr-00107-JMS-MJD Document 63 Filed 09/07/18 Page 28 of 48 PageID #: 341
                                                                            28

  1              THE COURT:     For the Defendant?
  2              MS. BEITZ:     No, Your Honor.
  3              THE COURT:     All right.    The Court will accept the
  4 presentence report as its findings of fact and will accept the
  5 report, for the record, under seal.           In the event of any
  6 appeal, counsel will have access to the sealed report but not
  7 to the recommendation portion, which shall remain confidential.
  8              During the plea portion of the proceedings the Court
  9 conducted the guideline calculation with respect to Counts 9
 10 and 11.     It results in a term of imprisonment of 51 to 63
 11 months, a term of supervised release of one to three years, a
 12 potential fine of 20- to $200,000, restitution in the amount of
 13 $1,902, and that includes the reduction for the phone and the
 14 special assessment of $400.
 15              Any objection to that cal- -- in addition, of course,
 16 the two mandatory consecutive sentences of 120 months for
 17 Count 20 and 300 months for Count 22.           Any objection to that
 18 calculation, Mr. Preston?
 19              MR. PRESTON:     No, Your Honor.
 20              THE COURT:     And Ms. Beitz.
 21              MS. BEITZ:     No, Your Honor.
 22              THE COURT:     All right, thank you.
 23              Mr. Gilder, sir, you have the right to address the
 24 Court personally, and if you wish to exercise that right, you
 25 are not required to, but if you wish to make a statement, now
Case 1:16-cr-00107-JMS-MJD Document 63 Filed 09/07/18 Page 29 of 48 PageID #: 342
                                                                            29

  1 would be the appropriate time.
  2              THE DEFENDANT:     Yes, I wish to make a statement.
  3              THE COURT:     Go ahead, please.
  4              THE DEFENDANT:     Okay.    I would first like to thank
  5 God and give honor to him and glory to him for bringing me
  6 through this situation and through this experience with safety
  7 and own it and atone as a man today and to accept the
  8 responsibility of my actions in what I have done.             I want to
  9 apologize to all those people who were affected, including the
 10 people who are outside this room today, and I want to say I
 11 understand that I put a lot of people's life in danger.
 12              I endangered a lot of people's safety.          I broke a lot
 13 of peace within the community, and I am really sorry and
 14 embarrassed and ashamed for the actions of what I committed.
 15 And I want to say also that I apologize to each corporation
 16 that was affected and each and every individual such as the
 17 employees who were working at the time especially.
 18              And I want to especially call upon Miss Tyesha
 19 Parker, the victim of Count 11, and I want to apologize to her
 20 for the weapon actually discharging accidentally, but when you
 21 doing crime or when you are doing something that isn't right,
 22 you never know what can happen in that process.             So I realize
 23 now that that was the worst decision I ever could have made and
 24 during that period, and this is not who I am, but this is a, a
 25 decision I chose to make without thinking thoroughly before
Case 1:16-cr-00107-JMS-MJD Document 63 Filed 09/07/18 Page 30 of 48 PageID #: 343
                                                                            30

  1 making it.      So I want to apologize to her personally.
  2              I also want to apologize for just the weapon going
  3 off, the, the first situation, which was basically done to
  4 intimidate, and it was wrong in doing so.            And I am very sorry
  5 for doing it, and I can't stress enough how sorry I am.
  6              And I just want to apologize to everyone here like I
  7 said to you, Judge, to my family, to my beautiful daughter,
  8 mother of my child, Abigale.         Apologize to my brothers Donovan
  9 and Dorian Gilder.       Apologize to my mother and my father,
 10 Donnell, Sr. and Antonia Gilder.          I want to just say I am
 11 really sorry for what I have done, and this is an embarrassment
 12 on my whole family.       I know the shame this has brought.
 13              I am truly sorry, and hopefully we can recover from
 14 this because each and every day of these 14 months that I have
 15 been detained I thought about the consequences of my actions.
 16 I thought about what I have done each and every day, and it
 17 saddened me, and it took a long time for me to forgive myself.
 18 If you can forgive me, I would really appreciate that.              We can
 19 move on from this process and as I continue to better myself as
 20 a man and move forward in the right direction.
 21              I also want to say that this has been a life-changing
 22 experience and that I truly learned my lesson from this, and
 23 just being away from the things that you have everyday on the
 24 everyday basis you learn to appreciate what you had.              And what
 25 I did has taken me away from the people who I did the things
Case 1:16-cr-00107-JMS-MJD Document 63 Filed 09/07/18 Page 31 of 48 PageID #: 344
                                                                            31

  1 for, which was my daughter and to actually provide for her.
  2 Because as a man, I, I was going through a hard time in my life
  3 where I could not find a job, position, as I am putting in
  4 applications.
  5              And that is no excuse for me doing what I did, but I,
  6 I basically panicked.        That, that is what happened.        I
  7 panicked.     I was in a deep, dark, and depressed situation, and
  8 I should have just went to the people who really love me and
  9 talk to them about what was going on.
 10              And the person that is hurting most is my daughter.
 11 I am sorry.      I just want to -- even though she is not here, I
 12 want to apologize to her and say that I am sorry for all I have
 13 done.     I regret everything I have done.        It hurts so bad.      I
 14 know I must accept the responsibilities of what I have done.
 15 All she ever needed me to do was to be there for her, to
 16 protect her and love her and take care of her.             I jeopardized
 17 being there in her life as her father as I had a father in my
 18 life, and most people don't have that privilege.
 19              I am thankful for that, and I thank my parents for
 20 the way they raised me.        And I know that I am not a direct
 21 example of them.       What I have done is not anything that they
 22 have ever taught me.        These are my actions, and I am sorry,
 23 because I really appreciate how my father showed me how to
 24 raise a family and to take care of responsibilities and work
 25 hard for the things that he deserves and the things that he
Case 1:16-cr-00107-JMS-MJD Document 63 Filed 09/07/18 Page 32 of 48 PageID #: 345
                                                                             32

  1 must need to take care of his children and his wife.              I really
  2 appreciate that.
  3              I would like to thank everyone in my family, and also
  4 I would like to apologize to everyone who is here in my support
  5 and on my behalf.       And I appreciate you being here and when I
  6 really needed you the most.         It means a lot to me.       I see who
  7 really loves me in this situation.          I just want to apologize,
  8 and I am sorry.
  9              I want to apologize to you, Judge, for having to be
 10 here to post judgment over this matter.           I apologize to the
 11 prosecution and also Miss Gwendolyn Beitz, and I would like to
 12 thank her for everything she has done for me in this situation.
 13 I just want to move on from this process and better myself and
 14 utilize the talents that God has given me as a man that I now
 15 realize that I have now more than ever from just spending time
 16 and actually learning myself more and more each and every day,
 17 learning to have self-control over myself, learn to think
 18 before I act and decisions that I make.
 19              I learned to keep peace and discretion and be --
 20 continue to be humble and not have my pride so high.              So I
 21 really humble myself in this situation, and I am thankful to
 22 God for that.
 23              I would like to thank everyone for having the
 24 opportunity to stand before everyone and apologize.              I am
 25 really very sorry.       I thank you for the opportunity.
Case 1:16-cr-00107-JMS-MJD Document 63 Filed 09/07/18 Page 33 of 48 PageID #: 346
                                                                            33

  1              THE COURT:     Thank you, sir.     Ms. Beitz.
  2              MS. BEITZ:     Whatever sentence is handed down today, I
  3 think it is important to recognize that you will be sending him
  4 back into an extremely accountable and supportive environment.
  5 I, I don't know that I have ever done a sentencing with this
  6 many people sitting behind one of my clients, writing the
  7 letters that they have written to the Court, and each one, I
  8 think, has one key component that I want to point out, and I
  9 think it is most eloquently put in his mother's letter.
 10              Our son has committed several grievous acts of armed
 11 robbery and victimized innocent individuals to with which he
 12 has confessed.      That is the environment that you will send him
 13 back into, whatever decision that you make today.             These are
 14 not people who are saying our, our son did something.              It was a
 15 mistake.     They are saying they recognize the grievous nature of
 16 his actions.      They recognize that there were victims.          They
 17 recognize that punishment must be handed down.
 18              So the question before the Court now is what is an
 19 appropriate punishment, and this is difficult because as a
 20 22-year-old man he has committed actions that Congress has said
 21 mandates at least 35 years.         That will place this young man
 22 next to me in his 50s when he would be released from the Bureau
 23 of Prisons, and that is if the Court just gave him what
 24 Congress has mandated for these offenses.
 25              So how much is enough?       At 22, we make a lot of
Case 1:16-cr-00107-JMS-MJD Document 63 Filed 09/07/18 Page 34 of 48 PageID #: 347
                                                                            34

  1 really dumb decisions.        At 22 years old, people are still
  2 trying to find themselves, and it is not just something we say
  3 colloquially that we know.         Scientifically we know.       The brain
  4 is not fully developed, especially in men, in young men until
  5 they hit 25 in some studies.
  6              The front part of his brain, the impulse control
  7 portion part of his brain that tells him, stop and go talk to
  8 mom and dad.      Don't take this action.       That extra impulse
  9 control isn't fully formed yet, but it will be.             By the time
 10 that he has done the mandatory minimum that he has to do per
 11 Congressional mandate, that part will be fully developed.               He
 12 will have had the opportunity for training, for counseling, for
 13 vocational, education.        And all of those things will be
 14 accomplished well before that 35-year mandatory minimum.
 15              So in looking at the Dean case and what the Supreme
 16 Court has recognized, this Court can consider the fact that he
 17 has mandatory minimums up to 35 years in looking at the
 18 guidelines and saying it is too much.           We don't need to add any
 19 additional time for this young man to understand that what he
 20 did was serious, that what he did was wrong.
 21              You heard his heartfelt admissions, his apologies,
 22 and you see that in 14 months he has really had that
 23 opportunity, even in these 14 months, to grow and to be able to
 24 sit down and recognize that he does have to sit down for a
 25 while.     But as the Supreme Court says in Dean, the time for the
Case 1:16-cr-00107-JMS-MJD Document 63 Filed 09/07/18 Page 35 of 48 PageID #: 348
                                                                            35

  1 robberies can be one day.         That is what we are asking for in
  2 this case.
  3              We are not trying to belittle the seriousness of the
  4 other robberies.       We recognize that in each one of those
  5 instances there were victims, and there were people who want to
  6 know that this Judge takes their safety into account.              But I
  7 believe each one of them, in hearing that he received 35 years,
  8 would be satisfied in knowing that they will be safe, that the
  9 community will be safe.        And additionally, he is not going to
 10 get out until he is in his 50s even with a mandatory minimum.
 11              I ask the Court to recommend placement at the BRAVE
 12 program.     I know the Court has heard about this program, but it
 13 is absolutely tailored to somebody in Mr. Gilder's position,
 14 for young, first offenders.         When you look at his criminal
 15 history it is zero.       He has nothing, and it is used to help
 16 with cognitive and behavioral residential treatment, as the
 17 Court knows.      It is at two locations, and we are asking the
 18 Court to recommend the FCI Beckley location, which is in West
 19 Virginia.
 20              We also ask the Court recommend that he be allowed to
 21 take certain vocational programming after he completes BRAVE,
 22 which would be barbering, culinary arts, and also that he be
 23 placed as close to Indiana as possible, excluding the facility
 24 in Terre Haute.       While he would love to be as close to his
 25 family as possible, he and I, through discussions, have come to
Case 1:16-cr-00107-JMS-MJD Document 63 Filed 09/07/18 Page 36 of 48 PageID #: 349
                                                                            36

  1 the same conclusion that Terre Haute is not a place that has
  2 the type of training that he needs.           It does not have the type
  3 of supportive environment that he needs, and he knows he needs
  4 to go somewhere where he can make very good use of his time.
  5              We also ask the Court recommend alcohol treatment.
  6 Looking at the presentence report, I believe the Court can
  7 conclude that that is appropriate.          Additionally, anger
  8 management.      I think that is something that is going to be key
  9 in him growing as a man, as he has said, and also to control
 10 his temper, something that he pointed out to probation in the
 11 interview and just opened up and said I certainly have some
 12 issues with my temper.        I need to learn to control it.
 13              Again, that is also going to come with age.           Knowing
 14 that the Court can have the confidence that you are sending him
 15 back into this environment, you are sending him back into the
 16 arms of all of these people, into the folds of his church
 17 community, his close family, and his extended family.              I think
 18 that 35 years and one day is sufficient in this case.              Thank
 19 you.
 20              THE COURT:     Thank you.    Mr. Preston?
 21              MR. PRESTON:     Thank you, Your Honor.       Briefly, in the
 22 United States' humble opinion, while a sentence of 35 years and
 23 one day is legally supportable under Dean, it is not
 24 necessarily appropriate in this particular case, and I would
 25 like to outline why.
Case 1:16-cr-00107-JMS-MJD Document 63 Filed 09/07/18 Page 37 of 48 PageID #: 350
                                                                            37

  1              As this Court probably has seen more during your time
  2 on the state court bench, we often have young offenders
  3 engaging in a flurry of quick robberies, just impulsive, couple
  4 of days hitting gas stations, running around until they got
  5 caught.     That is simply not what we have here with Mr. Gilder.
  6              With absolutely all respect to his loving family and
  7 his support network, that support network was present over the
  8 course of two months when Mr. Gilder repeatedly, and I don't
  9 mean to say that this occurred on a completely, you know, every
 10 four-, five-day basis, but if you average it out over eight
 11 weeks, 11 robberies, that is a robbery a week for two months
 12 before he was caught.
 13              That really does reflect strongly upon the nature and
 14 circumstances of the offense, and the Government's humble view,
 15 a sentence of nothing on the underlying robberies is, in fact,
 16 a disservice to the victims that even Mr. Gilder and his family
 17 recognize were greatly impacted by this case.
 18              Additionally, when it comes to the nature and
 19 circumstances of the offense, there by the grace of God, we
 20 didn't have a homicide committed during the last robbery.               The
 21 bullet narrowly missed the clerk, having actually traveled
 22 between her legs.       After Mr. Gilder fired a shot through the
 23 door, whether it be intentionally or inadvertently, but Mr.
 24 Gilder had both the impulse control and the presence of mind
 25 after having fired a shot at another human being to go and
Case 1:16-cr-00107-JMS-MJD Document 63 Filed 09/07/18 Page 38 of 48 PageID #: 351
                                                                             38

  1 retrieve the single shell casing that discharged from the
  2 semi-automatic pistol that he had just fired before entering
  3 into the store.       That is troubling to the Government.         I
  4 believe it should be troubling to the Court as well.
  5              Pursuant to the plea agreement, we are recommending
  6 the low end of the guidelines.          I don't necessarily believe
  7 that there is a meaningful difference between an in-guideline
  8 and non-guideline sentence on the underlying robberies, but the
  9 Government does believe that there should be some additional
 10 penalty to account for the impact to the significant number of
 11 victims that were harmed greatly over the course of two months
 12 in 2015.
 13              THE COURT:     Thank you.
 14              Let me say first that the overall -- the reason I can
 15 consider anything below the guidelines, contrary to earlier
 16 Seventh Circuit precedence, is because the Supreme Court says
 17 we always have to remember that the sentence must be
 18 sufficient, but not greater than necessary.            So that is the
 19 overarching purpose of the sentence, and so we will just go
 20 through the factors.
 21              The nature and circumstances of the offense:           11
 22 robberies in eight weeks is a very significant number of
 23 robberies, particularly given that the Defendant was armed with
 24 loaded weapons, apparently at least twice that guns were
 25 discharged twice; one to frighten, which I am sure that is a
Case 1:16-cr-00107-JMS-MJD Document 63 Filed 09/07/18 Page 39 of 48 PageID #: 352
                                                                            39

  1 successful motive there.        I think you got what you wanted, and
  2 then the other where the gun actually caused physical injury
  3 and damage to the property.
  4              So if you think about why you told me you did this,
  5 Mr. Gilder, it is because you, you couldn't get a job, right?
  6 So folks working at Speedway are making just about minimum
  7 wage, maybe a little bit more.          So they, they got a job.       It is
  8 not the best job in the world, but it is a good day's honest
  9 work.     And there are two places where people need to feel safe;
 10 home, No. 1, but their workplace is another one.             So you took
 11 that away from them, the ability to feel safe, and so that is a
 12 serious consequence to me.
 13              I was a state court judge for 12 years, and a couple
 14 of times robberies were videotaped so I could hear the fear in
 15 the voices of the victims and see the terror on their faces
 16 when they were robbed.        It isn't a game.      It is very real, and
 17 it is very life altering for them.          So I want to acknowledge
 18 that seriousness of, of the offenses that you both are pleading
 19 guilty to and that were considered in the guideline
 20 calculation.
 21              Your history and characteristics are, you know, just
 22 tragic to me because, as Ms. Beitz pointed out, all these
 23 beautiful people are here for you.          And as the Government
 24 pointed out, they were here for you during all of this.               And
 25 you're blessed to have them, and I don't think they are going
Case 1:16-cr-00107-JMS-MJD Document 63 Filed 09/07/18 Page 40 of 48 PageID #: 353
                                                                            40

  1 anywhere.     But their ability to impact your life is going to be
  2 different than it would be otherwise.
  3              So your folks -- just the fact that you have married
  4 parents.     There are probably five people of the hundreds I
  5 sentence that have, you know, grew up in a family what, you
  6 know, what you would consider a regular family.             And I think
  7 you appreciate that now, and I wish you would have appreciated
  8 it before.
  9              So I have to consider the need for the sentence to
 10 reflect the seriousness of the offense and promote respect for
 11 the law.     I do believe you learned or are learning and will
 12 have to learn more.       It also has to provide a just punishment
 13 and deter you from committing crimes, to protecting the public.
 14 They're sort of -- also, your attorney has done a great job as
 15 she always does in looking for programming that is available
 16 for you, for environments that are as productive as they can be
 17 in the Federal Bureau of Prisons, and she always does a
 18 terrific job with that.
 19              So all of those recommendations will certainly be
 20 part of the sentence because I am supposed to try to provide
 21 you with needed education or vocational training, which I will.
 22              But thanks to the Dean case, there is sort of an
 23 artificial construct in -- and I am not -- no offense, Mr.
 24 Preston.     There is sort of an artificial construct in saying
 25 there is no penalty for the underlying robberies if I don't
Case 1:16-cr-00107-JMS-MJD Document 63 Filed 09/07/18 Page 41 of 48 PageID #: 354
                                                                            41

  1 assign time to them.        There is huge penalties.       There are two
  2 huge penalties -- one is ten years, and one is 25 years and it
  3 is a significant period of time.
  4              You talk about my state court days.          I think people
  5 who get in a credit time situation when I was there, I
  6 sentenced people for murder who are going to do less time than
  7 he has to do because of the way Congress has set this up.               And
  8 so I think that if I were to look at what Congress has done,
  9 you get -- you get the ten for one discharge and 25 for the
 10 second.
 11              They have, they have made the decisions about how
 12 these are to be handled, and to me, for a 22-year-old man to be
 13 looking and plead guilty to a minimum 35 years is -- it is
 14 sufficient.      I, I could entertain an argument that it might be
 15 somewhat greater than necessary, not to say, and I want to make
 16 it clear on the record.        A serious sentence is deserved in this
 17 case, and if I had a complete range of discretion, we would
 18 talk between probably 20 and 30, given the number of crimes and
 19 the number of victims in this case.           But that is not the
 20 discretion that I have, and I respect that, and I think Dean
 21 respects it as well.
 22              So I think the sentence that Ms. Beitz has asked for
 23 does account for every victim, regardless of whether -- I am
 24 not saying 35 years and a day is enough disregarding the harm
 25 that every single person suffered.          I just think that Congress
Case 1:16-cr-00107-JMS-MJD Document 63 Filed 09/07/18 Page 42 of 48 PageID #: 355
                                                                            42

  1 took that fear and harm into account, and 35 years from now, a
  2 lot will be different.        Mr. Gilder will be still younger than I
  3 am, but he will be an older gentleman at that time.
  4              And I don't think anybody has anything to fear with a
  5 35-year-and-one-day sentence so I think the public and all the
  6 victims are adequately protected.          So I think that is the
  7 sentence the Court will impose in this case.
  8              These were serious crimes, and I am not trying to
  9 minimize anything about them, but Congress has sort of taken
 10 care of how serious this sentence needs to be under these
 11 circumstances.      So I am going to go ahead and state the
 12 proposed sentence and then give the parties an opportunity to
 13 object.
 14              Pursuant to the Sentencing Reform Act of 1984, it
 15 is -- I want to say one more thing before I do that, however.
 16 If something should happen that those two laws get -- or the
 17 924(c) penalties change, I am just putting a placeholder on
 18 this record that I think a full resentencing is in order.               We
 19 should not be dealing with a day.          I want a full resentencing,
 20 and I just read a case recently where the Court said, oh, the
 21 Judge didn't say something.
 22              I wanted to make sure I said that so that we could
 23 see how the Defendant is doing, hear from the victims when
 24 there was less of a certainty of 35 years, etc.             I just want to
 25 make that statement should those laws change and be allowed to
Case 1:16-cr-00107-JMS-MJD Document 63 Filed 09/07/18 Page 43 of 48 PageID #: 356
                                                                            43

  1 apply retroactively, which doesn't happen very often.              Just in
  2 case, I wanted to make that statement.
  3              So pursuant to the Sentencing Reform Act of 1984, it
  4 is the judgment of the Court that the Defendant, Donnell E.
  5 Gilder, Jr., is hereby committed to the custody of the Bureau
  6 of Prisons to be imprisoned for a term of one day on Counts 9
  7 and 11 to be served concurrently, 120 months on Count 20 -- I
  8 am sorry, yeah, on Count 20 consecutive to all other counts,
  9 and 300 months on Count 22, consecutive to all other counts for
 10 a total of 420 months and one day of imprisonment.
 11              The Court is recommending participation in the BRAVE
 12 program, participation in vocational programs, including
 13 barbering and the culinary arts.          The Court is also
 14 recommending placement at FCI Beckley in West Virginia and
 15 perhaps later placement as close to Indiana as possible,
 16 excluding any facility in Terre Haute.           The Court further
 17 recommends alcohol treatment and anger management classes.
 18              Does that include all the recommendations, Ms. Beitz?
 19              MS. BEITZ:     Yes, Your Honor.     Thank you.
 20              THE COURT:     The Defendant shall pay restitution to
 21 the Speedway Gas Station on 71st street in the amount of
 22 $1,090; to the Speedway Gas Station on 65th Street, $452; to
 23 the Speedway Gas Station on Allisonville Road, $360.              Payment
 24 is to be made directly to the Clerk of the United States
 25 District Court for disbursement to the victims.
Case 1:16-cr-00107-JMS-MJD Document 63 Filed 09/07/18 Page 44 of 48 PageID #: 357
                                                                            44

  1              Any payment that is not payment in full should be
  2 divided -- all to Speedway.         Never mind.     Okay.
  3              The Defendant shall notify the United States Attorney
  4 for this district within 30 days of any change of mailing or
  5 residence address that occurs while any portion of the
  6 restitution remains unpaid.         Any unpaid restitution balance
  7 shall be paid during the term of supervision at a rate of not
  8 less than 10 percent of the Defendant's gross monthly income.
  9 The Defendant shall notify the probation officer of any
 10 material change in economic circumstances that might affect his
 11 ability to pay restitution.
 12              The Court finds the Defendant does not have the
 13 ability to pay interest and waives the interest requirement.
 14              The fine is not being ordered based on the
 15 Defendant's future financial ability to pay.            The Defendant
 16 shall forfeit the Ruger LC9, 9-millimeter pistol, bearing
 17 serial number ending 662 and seven rounds of 9-millimeter
 18 ammunition.      Because of the length of the Defendant's term of
 19 incarceration and to aid in his re-entry into society, the
 20 Court is imposing a term of supervised release of three years
 21 to be served on each of Counts 9, 11, 20, and 22 concurrently.
 22              Within the presentence report, the probation officer
 23 listed both the mandatory conditions required by law, as well
 24 as recommended conditions of supervised release that were
 25 proposed at Paragraph 143.
Case 1:16-cr-00107-JMS-MJD Document 63 Filed 09/07/18 Page 45 of 48 PageID #: 358
                                                                            45

  1              Ms. Beitz, have you and Mr. Gilder reviewed those
  2 conditions?
  3              MS. BEITZ:     We have, Your Honor.
  4              THE COURT:     Are there any objections to those
  5 conditions?
  6              MS. BEITZ:     No objections, Your Honor.
  7              THE COURT:     Mr. Gilder, you have the right to have me
  8 read each of these conditions out loud to you if you wish, but
  9 if you believe you understand them and the reasons they are
 10 being imposed as listed in the report, as well, if you believe
 11 you understand them, you can waive that right.             Do you wish for
 12 me to read them, or do you want to waive that right?
 13              THE DEFENDANT:     I would like to waive that right.
 14              THE COURT:     All right.    The Court will accept the
 15 Defendant's waiver, and we will incorporate, by reference, the
 16 mandatory conditions that were included in Paragraph 142, as
 17 well as each of the special proposed conditions included in
 18 Paragraph 143 and those being Subparagraphs A through Q.
 19              The Court is also ordering payment of the mandatory
 20 special assessment of $400, which is due immediately and is to
 21 be made directly to the Clerk of the United States District
 22 Court.
 23              Counsel, do you have any legal objection to the
 24 sentence I have proposed or request any further elaboration of
 25 my reasons under Section 3553(a) either as to the term of
Case 1:16-cr-00107-JMS-MJD Document 63 Filed 09/07/18 Page 46 of 48 PageID #: 359
                                                                             46

  1 imprisonment or the length and conditions of supervised
  2 release, Mr. Preston?
  3              MR. PRESTON:     No, Your Honor.
  4              THE COURT:     Ms. Beitz?
  5              MS. BEITZ:     No, Your Honor.
  6              THE COURT:     The Court will order the sentence imposed
  7 as stated.
  8              Mr. Gilder, you can appeal your conviction if you
  9 believe that your guilty plea was somehow unlawful or
 10 involuntary or if there is some other fundamental problem in
 11 the proceedings that was not waived by your guilty plea; do you
 12 understand?
 13              THE DEFENDANT:     Yes, ma'am.
 14              THE COURT:     Under some circumstances the Defendant
 15 would also have the right to appeal his sentence.             However, we
 16 discussed the fact that as part of your plea agreement, you
 17 waived or gave up your right to take a direct appeal of both
 18 your conviction and sentence.         That waiver is generally
 19 enforceable, but if you believe it is not valid, you could
 20 present that theory to the appellate court; do you understand?
 21              THE DEFENDANT:     Yes, ma'am.
 22              THE COURT:     To begin an appeal you must file a notice
 23 of appeal within 14 days of the entry of judgment.              If you
 24 cannot afford the filing fee or cannot afford to pay a lawyer
 25 to appeal for you, the Court will appoint a lawyer to represent
Case 1:16-cr-00107-JMS-MJD Document 63 Filed 09/07/18 Page 47 of 48 PageID #: 360
                                                                            47

  1 you on appeal.
  2              Also, upon request, the Clerk of Court will prepare
  3 and file a notice of appeal; do you understand?
  4              THE DEFENDANT:     Yes, Your Honor.
  5              THE COURT:     Do you have any questions about your
  6 appellate rights, your appellate waiver, or the time limit for
  7 filing a notice of appeal?
  8              THE DEFENDANT:     No, ma'am.
  9              THE COURT:     All right.
 10              Motion, Mr. Preston, with respect to the remaining
 11 counts?
 12              MR. PRESTON:     Yes, Your Honor.      The Government moves
 13 to dismiss all remaining counts.
 14              THE COURT:     Any objection, Ms. Beitz?
 15              MS. BEITZ:     No, Your Honor.
 16              THE COURT:     Anything further from the defense?
 17              MS. BEITZ:     No, Your Honor.
 18              THE COURT:     Thank you.    The Court will grant the
 19 motion to dismiss and order the Defendant remanded to the
 20 custody of the marshal.        Is there anything further from
 21 probation?
 22              THE PROBATION OFFICER:       No, Your Honor.
 23              THE COURT:     Thank you.    Good luck to you.
 24              THE DEFENDANT:     Thank you, ma'am.
 25              THE CLERK:     All rise.
Case 1:16-cr-00107-JMS-MJD Document 63 Filed 09/07/18 Page 48 of 48 PageID #: 361
                                                                            48

  1              (Concluded at 4:35 o'clock p.m.)
  2                                     - - -
  3                       CERTIFICATE OF COURT REPORTER

  4
  5              I, Jean A. Knepley, hereby certify that the

  6   foregoing is a true and correct transcript from

  7   reported proceedings in the above-entitled matter.

  8
  9
 10
 11 /S/ Jean A. Knepley                         September 7, 2018
    JEAN A. KNEPLEY, RDR/CRR/CRC/FCRR           Date
 12 Official Court Reporter
    Southern District of Indiana
 13 Indianapolis Division
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